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  16   Attorneys for Defendants
  17
  18                      UNITED STATES DISTRICT COURT
  19                    CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
  20
  21
  22   STATE OF CALIFORNIA, et al., )        Case No. 2:19-cv-7390 DMG(AGRx)
                                       )
  23           Plaintiffs,             )     JOINT STATUS REPORT
                                       )
  24   v.                              )
                                       )     Hearing Date: Not Set
  25   ALEJANDRO MAYORKAS,                   Hon. Dolly M. Gee
       Secretary of Homeland Security, )
  26   et al.,                         )     [Proposed] Order Filed Concurrently
                                       )
  27           Defendants.             )
  28                                   )
                                       )
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   1        The parties submit this Joint Status Report in light of the Court’s Order, dated
   2 November 2, 2021. See ECF No. 146.
   3      Consistent with this Court’s Order, by November 10, 2021, the parties must
   4 submit a Joint Status Report to update the Court regarding the status of the parties’
   5 negotiations or a Stipulation if the parties have reached a resolution. Id.
   6       The parties remain engaged in discussions concerning a potential resolution to
   7 Plaintiffs’ claims against the Department of Homeland Security (“DHS”), but have not
   8 yet reached such a resolution. The parties continue to meet and confer and to exchange
   9 proposals.
  10       Therefore, in order to facilitate their ongoing negotiations and complete the
  11 necessary approval processes in the event of an agreement, and in light of upcoming
  12 federal holidays, the parties agree and propose the following:
  13       a. The parties will file a Stipulation by December 10, 2021, to notify the Court
  14           of a proposed course of proceedings based on the parties’ discussions.
  15        b. In the event that the parties are unable to agree on further steps toward a
  16           potential resolution, the parties will meet and confer within three days and
  17           promptly submit to the Court a Joint Status Report with proposed dates for a
  18           Case Management Conference and submission of a Case Management
  19           Conference Statement.
  20
  21 Dated: November 10, 2021                       Respectfully submitted,
  22
  23 ROB BONTA                                      BRIAN M. BOYNTON
     Attorney General of California                 Acting Assistant Attorney General
  24 MICHAEL L. NEWMAN                              Civil Division
  25 Senior Assistant Attorney General
     SARAH E. BELTON                                AUGUST E. FLENTJE
  26 Supervising Deputy Attorney General            Special Counsel
  27 VIRGINIA CORRIGAN
  28 REBEKAH A. FRETZ                               WILLIAM C. PEACHEY
     Deputy Attorneys General                       Director



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   1 /s/ Julia Harumi Mass                           District Court Section
   2 JULIA HARUMI MASS                               Office of Immigration Litigation
     Deputy Attorney General
   3 Attorneys for State of California               WILLIAM C. SILVIS
   4                                                 Assistant Director
   5                                                 SARAH B. FABIAN
                                                     Senior Litigation Counsel
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   7                                                 /s/ Fizza Batool
                                                     FIZZA BATOOL
   8                                                 Trial Attorney
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  13                                                 Email: fizza.batool2@usdoj.gov
  14                                                 Attorneys for Defendants
  15
  16                          Attestation of Authorization to File
  17 All other signatories listed, and on whose behalf the filing is submitted, concur in
  18 the filing’s content and have authorized the filing.
  19
  20                                                 /s/ Fizza Batool
                                                     FIZZA BATOOL
  21                                                 Trial Attorney
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   1                             CERTIFICATE OF SERVICE
   2
   3 IT IS HEREBY CERTIFIED THAT:
   4
   5 I, Fizza Batool, am a citizen of the United States and am at least eighteen years of age.
   6 My business address is 450 Fifth Street, NW, Washington, DC 20001. I am not a party
   7 to the above-entitled action. I have caused service of the accompanying JOINT
   8 STATUS REPORT on all counsel of record, by electronically filing the foregoing
   9 with the Clerk of the District Court using its ECF System, which electronically
  10 provides notice.
  11 I declare under penalty of perjury that the foregoing is true and correct.
  12
  13 DATED: November 10, 2021
  14
                                                          /s/ Fizza Batool
  15                                                      FIZZA BATOOL
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